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                   EXHIBIT A

   Marketing Agreement between
Dearica Hamby and the WNBA, dated
  August 18, 2022 (the “Marketing
           Agreement”)
Via Email
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Dearica Hamby



Dear Dearica:

We are delighted that you have agreed to provide marketing services in connection with the

generally include promoting the WNBA and its sponsors and licensees to fans, consumers, and
media as well as trade, business, charitable and special interest groups. As one of the top players
in our league, we want to feature you in highly impactful, meaningful opportunities, representing
the best of our league and fostering not only the WNBA brand, but your personal brand as well.
This letter and Exhibits, which are attached hereto and are incorporated herein by reference, will
confirm the agreement between you and the WNBA with respect to your services. We have
agreed as follows:

1.     The term of this agreement                      shall commence as of September 21, 2022
       and expire on the tenth day following the last game of the WNBA Finals 2023

2.     During the Term, the WNBA (or other entity designated by the WNBA) shall have the
       worldwide right to use your name, nickname,
       (in each case, as approved by you), Picture (as defined below), portrait, image, signature,
       voice (including, without limitation, voice picked up by microphone) or other identifiable
       attributes and
       form of trade or consumer promotion or advertising related to the WNBA. Your Attributes
       may be used to imply an endorsement relationship with any individual WNBA sponsor or
       licensee, provided you do not have a conflicting preexisting individual agreement with a
       sponsor or licensee (as designated in Exhibit C).
       video, data or image reproduction or transmission whether now existing or hereafter
       created. In all cases, you will be notified beforehand regarding any usage of your Attributes
       and provided an opportunity to request changes prior to the usage.

3.     During the Term, you shall deliver the following marketing services:

       a.       Make yourself available for Commitments described in Exhibit A attached hereto
                as well as up to ten (10) Additional Commitments as assigned by the WNBA
                                                            Such Additional Commitments shall
                include creating content and making virtual or personal appearances in support of
                the WNBA or WNBA sponsors or licensees (as designated in Exhibit C) and/or the
                sport of basketball. The WNBA will use best efforts to schedule greater than half
                of the Commitments in the first portion of the Term, corresponding with the
                offseason. The remaining Commitments, not to exceed four (4), will be completed




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     in the second portion of the Term. Reasonable effort will be made to give you at
     least five (5)             of Commitments, including the scope of the request, and
     you must confirm your acceptance within 48 hours of receiving notice from the
     WNBA. You are expected to accept all Commitments unless you have an
     Allowable Reason for not accepting                      s             rmined at the
     sole discretion of the WNBA and will include instances such as family emergencies
     and illness/injury). At the beginning of this Term, you will communicate to the
     WNBA any planned trips or vacations or other preexisting commitments that would
     render you unavailable; any trips planned thereafter would need to not conflict with
     any currently scheduled Commitments and must be communicated in writing to the
     WNBA immediately. The Commitments will vary in nature and may include, but
     shall not be limited to, hospitality or promotional events involving or relating to
     WNBA regular season and playoff games and WNBA All-Star events, promotion
     of the WNBA at events (e.g., Summer League) held by the National Basketball
     Association

     meetings with WNBA team and league personnel, virtual content series, and
     advertisements filmed by the WNBA. You may be asked to wear apparel supplied
     by the WNBA during such Commitments, so long as such apparel is reasonable
     for the occasion.

b.   Notwithstanding anything to the contrary herein, the WNBA acknowledges and
     agrees that you have other individual sponsorship agreements as delineated in
     Exhibit B
     Agreement shall operate so as to make you in breach of, or otherwise create a
     conflict with, such Other Sponsorship Agreements. Should you acquire a new
     individual sponsorship agreement during the term of this Agreement, you must
     notify the WNBA immediately. The WNBA will work with you to avoid creating a
     conflict with your new individual sponsorship agreement.

c.                                                     by, among other things, sending
     personal messages to key decision makers affiliated with such sponsors and
     participating in, or providing footage for, WNBA video shoots to be included with
     pitch materials for such sponsors. Via league partnerships, grant WNBA sponsors
     (as designated in Exhibit C) the use of Player Attributes individually or to have the
     player participate in content creation and social media distribution. Nothing in this
     Agreement will restrict you from engaging in further business arrangements with
     your own sponsors or engaging with WNBA sponsors for extended activations
     above and beyond this Agreement.

c.   Provide the WNBA with a reasonable number of personalized and individually
     autographed items (not to exceed thirty (30) items). All items to be personalized
     and autographed will be supplied by the WNBA at the production day described in
     Exhibit A and may be used by the WNBA as business gifts, promotions or
     charitable auction items, but shall not be sold at retail or otherwise used in a
     commercial context by the WNBA.

d.   Reasonably cooperate with WNBA representatives for all Commitments, report
     promptly for all scheduled flights, appearances, press conferences, media
     interviews or other activities scheduled pursuant to this Agreement and make
     yourself available for any briefings or rehearsals as may be necessary, and

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     generally comport yourself at all times in accordance with the highest standards of
     conduct and behavior, consistent with your responsibilities on behalf of the WNBA.

e.   Create and share, on your authorized social media accounts (including, at a
     minimum, Instagram, Twitter, and TikTok), at least one (1) social post per week
     from September 2022-April 2023 and at least one (1) social post per month from
     May 2023-October 2023 as directed by the WNBA, or, if the WNBA does not
     provide direction for a certain week or month (as applicable), featuring WNBA
     merchandise (e.g. orange hoodie) and/or WNBA products (e.g. app relaunch),
     including merchandise provided by the WNBA for this purpose. The WNBA may
     make recommendations, but posts and the content thereof will be at your
     discretion, provided the merchandise and/or product is featured in a positive
     manner.

f.   Engage with WNBA social posts frequently (for example, resharing league
     highlights, commenting under a post, etc. at least weekly). The WNBA may make
     recommendations, but posts and the content thereof will be at your discretion.

g.   Use, on your authorized social media accounts, photographs and audiovisual
     footage of WNBA Events and accompanying text provi
               , generated and provided by WNBA sponsors for the purposes hereunder
                            or generated by you                                         -
                                                             . The WNBA grants you a
     limited, non-exclusive, non-sublicensable, revocable, royalty-free license to the
     use of WNBA Content as set forth herein. You grant the WNBA a worldwide,
     perpetual, irrevocable, non-exclusive, non-transferable, royalty-free license to the
     use of Player-Generated Content as set forth herein. For clarity, Social Media
     Content shall not include third-party branding of non-WNBA sponsors, celebrities,
     or minors, unless otherwise approved by the WNBA in writing and shall in no event
     disparage or otherwise reflect adversely upon the reputation of the WNBA. Upon
     request from the WNBA, you agree to immediately take down any or all materials,
     including social media posts, containing Social Media Content. You are not
     permitted to use Social Media Content for any other purpose, except as provided
     herein, without the prior written consent of the WNBA in each case. In addition,
     you hereby agree to adhere to the terms of service and other applicable guidelines
     of each of the platforms through which you make available Social Media Content.

h.                                                            your bio, marketable
     attributes/interests, sample social media posts, and other past promotional
     activities.

i.   Engage generally, in collaboration with the WNBA or on your own accord, with


j.   You reserve the right to decline, up to three (3) times during the Term, any of the
     above unique instances of your services or usage of your Player Attributes. Any
     such decline must be communicated in writing within 48 hours of receiving notice
     from the WNBA and must be based on good faith reasons. For clarity, this is in
     addition to declines for the reasons of sponsor conflicts, Allowable Reasons, or
     previously communicated planned trips or vacations.


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4.   During the Term, you shall not play basketball (or any other sport) in any professional or
     semi-professional league (other than the WNBA) without the prior written consent of the
     WNBA, which may be withheld in its sole discretion.

5.   In full compensation for the services described above, the WNBA shall pay you the sum
     of           payable in thirteen (13) monthly installments, the first of which to be paid on
     October 31, 2022, and the last of which to be paid on October 31, 2023. The first seven
     payments will each be equal to          The eighth through twelfth payments will each be
     equal to         The thirteenth and final payment will be equal to              If you do not
     complete the Required Allotment of Commitments without Allowable Reasons, the WNBA
     may withhold payment. Notwithstanding the foregoing, if the WNBA does not provide you

                        be defined as 120% of the Required Allotment), you will not be at fault.
     The WNBA will periodically provide information on your progress and known upcoming
     opportunities so as to project whether or not you are on track to complete the Required
     Allotment, and in September 2023, the WNBA will review your performance against the
     Required Allotment to confirm your compliance. In addition, the WNBA shall reimburse
     you (or pay directly) for any reasonable and documented out-of-town travel expenses
     (premium economy (or similarly enhanced coach fare) airfare, hotels and all meals) and
     reasonable and documented hair and makeup expenses incurred by you in connection
     with rendering the above-described services. For the avoidance of doubt, the WNBA shall
     only reimburse travel expenses for you alone and not for any other people in your travel
     party.

6.   Without prejudice to any other right it may have, the WNBA shall have the right to terminate
     this Agreement, by written notice, at any time if you fail to perform or are in breach of any
     material term or condition of this Agreement and, upon notice of breach, fail to cure such
     breach within two (2) days. Any compensation owed to you pursuant to Paragraph 5 shall
     be prorated through the date of termination. In addition, the WNBA shall have the right to
     terminate this Agreement if you retire from the WNBA, otherwise withhold your playing
     services, or if you are suspended by the WNBA or any WNBA team for more than five (5)
     games during any WNBA season. This Agreement shall also terminate (and all obligations
     will cease) upon the termination of your WNBA Standard Player Contract.

7.   This Agreement is personal to you and shall not be assigned, sublicensed or encumbered,
     directly or indirectly.

8.   You agree not to divulge or publicize, or permit others to divulge or publicize, the financial
     or other material terms of this Agreement or any information relating to the WNBA
     sponsorship or licensing programs without first obtaining the written consent of the WNBA
     except as may be required by law.

9.   The parties mutually agree that your performance under this Agreement is that of an
     independent contractor and that it is your responsibility to report as income any
     compensation received from the WNBA and to make the requisite tax filings and payments
     to the appropriate federal, state or local tax authority. Nothing in this Agreement shall be
     interpreted to mean that you or any individuals that assist you in performing any duties
     hereunder are entitled to receive from the WNBA (or its affiliates) any benefits provided
     by the WNBA (or its affiliates) to its officers, employees, representatives or agents.


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10.   You agree to generally comport yourself at all times in accordance with the highest
      standards of conduct and behavior, consistent with your responsibilities on behalf of the
      WNBA, and that your conduct and appearance shall be professional at all times while
      exercising any rights or performing any duties pursuant to this Agreement, including
      (a) adhering to all WNBA direction, as well as WNBA and venue rules and regulations
      during the performance of the services described above and (b) dealing courteously with
      all individuals with whom you come in contact during the performance of the services
      described above.

11.   You represent, warrant, covenant, and agree that you have disclosed and submitted all
      sponsorship, endorsement and licensing agreements (including all agreements with
      respect to footwear with any financial terms redacted) to which you are a party in existence
      as of the date of your execution of this Agreement and that copies of all such pre-existing
      agreements are attached to Exhibit B of this Agreement.

12.   This Agreement constitutes the entire Agreement and understanding between you and the
      WNBA relating to the subject matter of this Agreement and cancels, terminates and
      supersedes any prior agreement or understanding relating to the subject matter of this
      Agreement between you and the WNBA. None of the provisions of this Agreement can
      be waived except expressly in a writing signed by both parties. This Agreement shall be
      governed and construed in accordance with the laws of the State of New York.

                         [Remainder of Page Intentionally Left Blank]




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